                        No. 6:24-cv-00148

 Chamber of Commerce of the United States of America et al.,
                         Plaintiﬀs,
                             v.
             Federal Trade Commission et al.,
                        Defendants.


                            ORDER

    This court previously granted the FTC’s motion to apply the
first-to-file doctrine and stayed proceedings in this case. Doc. 27.
Plaintiffs have now notified the court of their intervention in the
first-filed Ryan case. Doc. 28. So this action is ripe for dismissal
pursuant to Federal Rule of Civil Procedure 41(a)(2). See Doc. 31
at 12 (plaintiffs’ notice of intent to dismiss).
    The court also previously disclosed its receipt of an ex parte
communication questioning the need for recusal and invited the
parties to file briefing explaining their views on whether or not an
ownership interest in a nonparty company or mutual fund in the
technology, energy, retail, pharmaceutical, or any other sector of
the economy would be “a financial interest in the subject matter in
controversy . . . or any other interest that could be affected sub-
stantially by the outcome of the proceeding” within the meaning
of 28 U.S.C. § 455(b)(4) or the Code of Conduct for United States
Judges or would otherwise require recusal. Doc. 29.
   In response to that invitation, no party has requested recusal.
Docs. 30, 31. But because the court invited briefing and because
recusal standards apply to any judicial action, even dismissal of a
case, the court briefly explains its analysis. The relevant standards
from the Code of Conduct for United States Judges are as follows:
       (1) A judge shall disqualify himself or herself in a pro-
   ceeding in which the judge’s impartiality might reasonably



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   be questioned, including but not limited to instances in
   which: . . .
       (c) the judge knows that the judge [or a qualifying fam-
   ily member] . . . has a financial interest in the subject matter
   in controversy or in a party to the proceeding, or any other
   interest that could be affected substantially by the outcome
   of the proceeding[.]
Code of Conduct for United States Judges, Canon 3(C); accord 28
U.S.C. § 455(a), (b)(4) (same recusal standards). If the assigned
judge is not disqualified, the Code imposes a duty for the judge to
sit and decide the case. Canon 3(A)(2) (“A judge should hear and
decide matters assigned, unless disqualified . . . .”).
    Each of those four recusal standards is addressed in turn. First,
the parties here are not companies or mutual funds in which the
undersigned or a qualifying family member owns a financial inter-
est. Second, there is no disqualifying financial interest in the sub-
ject matter in controversy, as if the undersigned or a qualifying
family member were a party to a noncompete agreement.
    Third, binding precedent interprets the “knows . . . [of ] any
other interest that could be affected substantially” standard to re-
quire more than a “remote, contingent, and speculative” interest
like owning stock “in a Texas bank that may be affected,” arguably,
by rulings affecting the banking industry. In re Placid Oil Co., 802
F.2d 783, 787 (5th Cir. 1986) (applying § 455(b)(4)); accord Ltr. of
Comm. on Codes of Conduct of the Jud. Conf. of the U.S. at 3,
Docket No. 2773 (Apr. 16, 2024), published at Doc. 59-2, In re
Chamber of Commerce, No. 24-10266 (5th Cir. Apr. 17, 2024)
(“[M]ore than mere speculation about the potential effect of liti-
gation on a judge’s ownership interest in a non-party would nor-
mally be necessary to support a conclusion requiring recusal.”).
    Given the speculative, multifaceted ways in which economic
actors may respond to the challenged rule, the court does not per-
ceive how one “knows” that the impact of the rule on the price of
a relevant stock or mutual fund could, depending on the outcome
of the proceeding, be “substantial.” See In re N.M. Nat. Gas Antitrust


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Litig., 620 F.2d 794, 796 (10th Cir. 1980) (“Coupled with the fac-
tor of contingency . . . , [any cost that might be passed on, indi-
rectly, to a judge] translates into a minor effect.”); MDCM Hold-
ings, Inc. v. Credit Suisse First Boston Corp., 205 F. Supp. 2d 158,
162 (S.D.N.Y. 2002) (“At this time, the effect of this litigation on
the prices of these two stocks is, at best, ʻremote, contingent, or
speculative’ and thus cannot serve as a basis for disqualification.”).
Indeed, no party has argued that this disqualification standard is
met by one of the financial interests listed by the court. And under
this standard, “it is the value of the interest itself that must be sub-
stantially affected by the outcome of the proceeding; its effect on
the judge’s overall financial condition is irrelevant.” Comm. on
Codes of Conduct of the Jud. Conf. of the U.S., Advisory Op. 106.
    Fourth, binding precedent holds that a speculative financial ef-
fect—one that does not rise to the level of a known or readily as-
certainable, substantial effect—does not meet the independent
disqualification standard of creating “a situation in which a judge’s
impartiality might reasonably be questioned.” Placid Oil, 802 F.2d
at 787. Nor has any party raised such a question as to impartiality
here.
    For those reasons, no basis for disqualification appears here.
So the undersigned has a duty under Canon 3(A)(2) to preside over
this matter. The court thus dismisses this case without prejudice
now that plaintiffs have joined the first-filed Ryan action.
                             So ordered by the court on May 30, 2024.



                                       J. C A M PB EL L B A RK ER
                                       United States District Judge




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